Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 1 of 8

UNITED STATES DISTRICT COURT

SOUTHERN DIST_RICT oF NEW YORK 1 5 CV 6 l 0 5

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(In the space above enter lhefull name(s) of the plaintijj’(s).)

 

 

 

COMPLAINT
-against- under the
Civil Ri hts Act, 42 U.S.C. _ 1983
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\c\.\\\ N\'\i\' txt\\!
T>\_'.\i l\L,C\ (QC\` l\Q \. l.`. \\rl Jury Trial: E{e_$ El NO
’_3-1'1\511.~"\ 51 N `11(‘ (V\¢:L:s' \(l '.v (check one)

 

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L‘\r‘-.ls¢ 11_1<1.1 \“li'b\‘!\i QQ \ `i\`CClrt£`_t? __ ‘:. .
Bi 1611'_11 ladder §5-\1»11_-¢ tlf‘\r;»i\c\l E©EHWE
Cll\u_llivi§"l;¢`i rci meal if r»‘- l )Q E`tf'_ 1` willie vi 11 .\ '
(ln the space above enter the/all name(s) ofthe defendant(s). [fyou _
cannot/it the names ofall ofthe defendants in the space provided, AUB "‘ 3 zola
please write "see attached" in the space above and attach an
additional sheet 0 a er with the ull list o names. The names »
listed in the abovef;:z;:)tion must be.:denticalfto those contained in PHO SE OFFIO'E

Pa)'t I, Addresses should not be included here.)

 

 

 

 

 

 

 

I. Parties in this complaint:

A. List your name, identification number, and the name and address of your current place of
confinement Do the same for any additional plaintiffs named. Attach additional sheets of paper

aS D€C€SSHFy.

Plaintiff Name 1 k\,"\i')\»§\r\ f_`_\\'\ll"&(l Of';.\,-'“\.\'\rl ? __
ID# QHQ\;`C[)Z'L\'Z
CurrentInstitution C-».\eLt "~.')Q \_).. \l11'“'fL/\"L» ill '\l:~f
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l \°\'7€0 __

B. List all defendants’ names, positions, places ofemployment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below arc identical to those contained in the
above caption. Attach additional sheets of paper as necessary.

Defendant No. l Name < \1\\1\1*\ N\,\\j`l 01 \\; _ Shield #
Where Currently Employed I__r;\ _,r: `|\_D] -,\~\ 11_\ ((`1.1 \ \”
Address Ll'i l-l…c\ (.`_\'\rre 31 1@1111"1‘1 l\i\l\
CB\§€'?>"L

Rev. 05/2010 1

 

Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 2 of 8

Defendam No. 2 Name llll…»\r ill la t a thwart ii Shield#_____

.)
Where Currently Employed l pj\. Jp\! (j; <;l; !Ll ((_'H_t l ____
Address¢ll lll»\\rl‘dl\r¢¢‘l l\\r..:r>ll. M/:l _Qk%*"'§~?~

 

Defendant No. 3 Name A;l_\_ \_\_Ijj![\ ..t, }'. ll ll\l[>ll,` \C lnrll fl Shie|d # ______ _

Defendant No. 4 Name

Where Currently Employ<:dlt:lrn'1 ll wl "‘\li \f__l pit 1 i' l
Address Lll l\l,r\'rl c:)\'.'\' \'&l |,l_fll;t.?idll ll'!l/`lA (;’11"?_)'32

 

 
 
  
 

Shield #

 

Where Currently Employed ,_'_ - . -
Addf€SS 7- A\yglr'l-un <3\ 969 l` , l C\_\.t'>i\f'.mt` t-’ lV\flr

    

 

Defendant No. 5 Name Dl-Sdt `|('\ lA'\lr(‘N \"l€ `\j' __ Shield #

II.

Where Currently Employed LQ\,UP ll l_)]*=, ll 1(`]|' ("(_.."\J'\.;'l\
Address all l~llrLrCl Q_tli CL l tile ::’ l l /l/\/£l .Q? l‘i>..»d§

 

Statement of Claim:

State as briefly as possible the fagg of your case. Describe how each of the defendants named in the
caption ofthis complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. lf you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.

In What institution did the events giving rise to your claim(s) occur?
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\_]~\»\\f:\' \( m N\ l\ ____ __________.. _..______...

Where in the institution did the events giving rise to your claim(s) occur?

ll ` l.'\§l\'_rtl k»Ll\L\.-

 

What date and approximate time did the events giving rise to your claim(s) occur?

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Rev. 05/20/0 2

 

 

 

 

Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 3 of 8

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III. Injuries:

If you sustained injuries related to the events alle ed above, describe them and state what medical treatment, if

any, 0\1 required andrec€iv@d _11'\)31\_511'_l 6 \11’#1‘1, l 131 11~ m fl 611 §l` _§1 11 \ f 01 uc°l
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IV. Exhaustion of Administrative Remedies:

The Prison Litigation Ret`orm Act ("PLRA"), 42 U. S C. § l997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner
confined m anyjail, prison, or other correctional facility until such administrative remedies as are available are
exhausted. ” Administrative remedies are also known as grievance procedures

A. Did your claim(s) arise while you were confined in ajail, prison, or other correctional facility?

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Rev. 05/2010 3

Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 4 of 8

If YES, name the jail, prison, or other correctional facility where you Were confined at the time of the events
giving rise to your claim(s). . . 1_ _ _ _¢.__ ~
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_ael lP‘3l1\\_12_-1'l1t\;1 l_\_-’\_t¢l _ _.

 

B.

Does thejail, prison or other correctional facility where your claim(s) arose have a grievance procedure?

/

£'_./
Yes ____ No ___ Do Not Know ___

Does the grievance procedure at the jail, prison or other correctional facility where your claim(s) arose
cover some or all of your claim(s)? f _

./'

Yes No _____ Do Not Know ::ll

If YES, which claim(s)? __ __ _ __

Did you tile a grievance i_n_ _lhe jail, prison, or other correctional facility where your claim(s) arose?

Yes No l'l/

IfNO, did you file a grievance about the events described in this complaint at any otherjail, prison, or
other correctional facility?

Yes No l“l

If you did file a grievance, about the events described in this complaint, where did you file the
grievance?

 

 

 

 

 

l. Which claim(s) in this complaint did you grieve? __
2. What Was the result, if any?
3. What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to

the highest level of the grievance process.

 

 

If you did not file a grievance:

l. If there are any reasons why you did not file a grievance, state them here: §li 1‘l
L"lLr--\ l'-'-r:\r; 1 3r‘11'\ '\-lr tl `\1\-\.-'1‘ 16».\'1{l 11`1(‘1£=1 _1'\1_"1‘l l11.\ "-l_ll‘l; "{ 1£"}l7\'\' 41 lC.l 131

_c_fl§ 13111131-l--l1;11-.1'11;l,11-¢1'l|r_1.1Ll-11-l31_..l "i_ 11 11.1'-1-(\11‘1§`1;\\1 1111-1 111'1:;1£11@={_.__

2. If you did not file a grievance but informed any officials of your claim, state who you informed,

Rev. 05/20)0 4

 

 

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Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 5 of 8

when and how, and their response, if any:

 

 

 

G. Please set forth any additional nlfoinlation that is relevalll to the exhaustion of ynlr administrative
remedies- :`1_\112 121;111"11,131-:l \)1;1\<;1\<'_11.~1[‘;€1,1¢ get\a\f.f-’fn l[hl1l11\l |\5(1}1) )U`LAC~C.
gu»l"llm -1~ \r)_}r¢y\c 1"\ MA G"J?ll§£f ' _ _

 

 

 

Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.

V. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that you

are seeking and the basis for such amount) [ mm §'_lg Tn_Ag hall bg §} pl 1,1.4' ll '1(“11,-\ r\\r~l - llr 1"1 -l-\v_f

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VI. Previous lawsuits:
A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

Rev. 05/2010 5

 

 

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Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 6 of 8

lfyour answer to A is YES, describe each lawsuit by answering questions l through 7 below. (Ifthere
is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using the same
format.)

 

 

 

 

 

 

l. Parties to the previous lawsuit:

Plaintiff`

Defendants

2. Court (if federal court, name the district; if state court, name the county) ___ ____ ___ __ __
3. Docket or Index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. ls the case still pending? Yes __ No ____

IfNO, give the approximate date of disposition

7. What was the result of the case? (For example: Was the case dismissed? Was there judgment
in your favor? Was the case appealed?)

 

 

Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?

Yes _[[_No ___

lf your answer to C is YES, describe each lawsuit by answering questions l through 7 below. (lf
there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same format.)
l. Parties to the previous lawsuit:
Plaintiff l(‘;"`;{-`>.\\)l-"\ £-._`_d\\§ oral CC\\’\}\L',\ l
-\ _r" l ll \ _ \|
Defendants l\lt‘ta >\/< ii l’~`- l .\\_J \)r".l r'; -{1 l/r--\]_»r- all l\ r'.= \.‘¢\

2. Court (if federal court, name th_e district' if state court, name the county) Q‘r~_\ll---egl § \_-§4&§_§
mr’>§ ctr b Cr'\ ~-u ‘ St`.l)._‘l'l/\C VY\ l"-;lw '\L-l.`

 

 

 

 

 

 

3. Docket or Index number l"D/~(;\l - l'l<;`? al _
4. Name of Judge assigned to your case l_t‘“(` mill Ct l_\_:\j\ L;CJle.`\
5. Approximate date of filing lawsuit `\.C'»\j 2 ""l J'V\ 1'2(}_`3' l5-
6. Is the case still pending? Yes _C'No _
lf`NO, give the approximate date of disposition
7. What was the result of the case? (For example: Was the case dismissed? Was there judgment

in your favor? Was the case appealed?)

 

 

Rev. 05/2010 6

Case 1:15-cv-13565-FDS Document 2 Filed 08/03/15 Page 7 of 8

l declare under penalty of perjury that the foregoing is true and correct.

Signed this M\Aday of \. l§gl§{ , 20_@. ________
Signature of Pghrl-i.[L \ r-./-~ /\- (___\l;’_`,'.'?;'?:___~:---~"

lnmate Number (j-)lLl_“\lj@_,J§lf)"_él._______..______.. _ _ _
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hill _E l_'-’l-_llr_ll..tl:`. Sl; .r ~l\.-l_\'~’bh:~>_\§{_(`_{llr`.: _ v
ll ?>'l QD

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide their
inmate numbers and addresses.

-tl/\
l declare under penalty of perjury that on this _l,:l__ day of A_L_\L§ ,_f' _ , 20_l_€'ll am delivering this
complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for the
Southern District of New York. . _ `

,» (__
Sigl'laturc hilil`rl`lil"|:r--¢-- - - \/`L/ `j:}.________ _

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Rev. 05/20/0 7

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